              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                               1:14 cr 29-5


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )               ORDER
                                              )
GEORGE COLEMAN FREIBERG,                      )
                                              )
                  Defendant.                  )
____________________________________          )


      THIS MATTER came on before the undersigned pursuant to a Motion to

Dismiss Count Two in Bill in Information as to Named Defendant (#281) filed by

the Government.    It appearing to the Court that good cause has been shown for

the granting of the motion and the motion will be allowed.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Dismiss Count Two

in Bill of Information as to Named Defendant (#281) is hereby ALLOWED and

the charges contained against Defendant in Count Two as to the Bill of Information

are DISMISSED.

                                       Signed: November 19, 2014




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